Case 1:01-cv-01357-RCL Document 817 Filed 07/23/21 Page 1of1

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

JOHN DOE], et al.,
Plaintiffs, Civil Action No. 01-1357 (RCL/AK)
Vv.

EXXON MOBIL CORPORATION, et ai.,

Defendants.

 

PROPOSED] ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION TO
DESIGNATE FILING AS HSD

KAghy Sam sj ting, THe cmact )
Upon consideration of Plaintiffs’ Unopposed Motion [816] to Designate Filing as HSD,.

‘it is on this way of MH , 2021, hereby

ORDERED, that Plaintiffs’ Motion be, and the same is, hereby GRANTED.

Bre. Tmt
Hon. Royce C. Lamberth
United States District Judge

It is so ORDERED.
